993 F.2d 1540
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.James Daniel CLARK, Defendant-Appellant.
    No. 92-7169.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 21, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-91-738-R)
      James Daniel Clark, Appellant Pro Se.
      Ray Burton Fitzgerald, Jr., Office of the United States Attorney, Roanoke, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      James Daniel Clark appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  United States v. Clark, No. CA-91-738-R (W.D. Va.  Nov. 5, 1992).  We deny Clark's motions to appoint counsel and for oral argument, and we dispense with argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We express no opinion about the merits of Clark's Fed.  R. Crim.  P. 32 motion, as the district court has not yet acted on it
      
    
    